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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY
                        MINUTES OF PROCEEDINGS

NEWARK                                          DATE: JUNE 20, 2019

JUDGE: Hon. WILLIAM H. WALLS
COURT REPORTER: Yvonne Davion
COURTROOM DEPUTY: Elisaveta Kalluci

Title of Case:                                  Cr.#: 18-379 (WHW)

USA v. GERMAINE H. KING, DANIEL K. DXRAMS

Appearances:

Anthony Moscato, AUSA
Lakshmi Srinivasan Herman, AUSA
Germaine H. King, a/k/a Germaine Howard, Pro Se
Kenneth W. Kayser, CJA (Standby Counsel for Defendant King)
Michael A. Orozco, ESQ. (Counsel for Defendant Dxrams)


Nature of proceedings:     CRIMINAL JURY TRIAL


Trial with Jury continued.
Defendants and Jury present.
Jury retired to deliberate at 10:45AM.
Lunch provided for 12 jurors at the Gov’ts expense (Hobby’s).
Jury returned verdict at 3:30PM.
VERDICT AS TO BOTH DEFENDANTS: GUILTY ON ALL COUNTS.
Verdict forms filed.
The Court polled and all Jurors concur.
All Jurors excused.
Sentencing set for October 1, 2019 at 10:00 am. for both
defendants.
Ordered bail continues.
Jury trial concluded at 4:15PM.

                                              Elisaveta Kalluci
                                               Courtroom Deputy

Time Commenced: 10:00AM
Time Adjourned: 4:15PM
